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 4   Attorneys for Defendant

 5                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                  )
 7                                              )      CR-13-6070-WFN
                Plaintiff,                      )
 8                                              )      MOTION FOR DISCOVERY
     vs.                                        )      AND PRETRIAL DISCLOSURES
 9                                              )
     KENNETH RICHARD ROWELL,                    )      Noted With Oral Argument
10                                              )      February 24, 2014 at 11:00 a.m.
                                                )      Yakima, Washington
11              Defendant.                      )
                                                )
12
     TO:   MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
13         ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY

14         KENNETH RICHARD ROWELL hereby makes formal demand upon
15
     the government to produce discovery and pretrial disclosures, as required by
16
     law. This request encompasses, but is not limited to the following:
17
           1.       Exculpatory Evidence: Disclosure of any existing exculpatory
18
     evidence in accordance with the requirements of Brady v. Maryland, 373
19

20   U.S. 83 (1963) and its progeny. Such disclosure also requires the government

21   to reveal any information that would impeach the credibility of any of its
22
     witnesses in this case. Subsequent cases applying Brady indicate that non-
23
     disclosure of evidence impeaching the credibility of a government witness
24
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 1   violates due process. United States v. Bagley, 473 U.S. 667 (1985); Giglio v.
 2
     United States, 405 U.S. 150 (1972). Also, the Brady rule should be
 3
     interpreted liberally on the side of disclosure. United States v. Bailleaux, 685
 4
     F.2d 1105 (9th Cir. 1982).
 5

 6
           In United States v. Sudikoff, 36 F.Supp.2d 1196 (C.D. Cal. 1999), the

 7   district court noted that appellate standards of review for Brady errors are

 8   not appropriately applied in the pretrial context. Id. at 1198-99. Rather, the
 9
     court ruled that "Brady requires disclosure of exculpatory information that is
10
     either admissible or is reasonably likely to lead to admissible evidence." Id.
11
     at 1200.
12

13         Thus, this discovery request includes, but is not limited to, disclosure of

14   the above mentioned discovery materials, as well as the following:

15         a. Bias of government witnesses. Any evidence that any prospective
16
     government witness is biased or prejudiced against the defendant or has a
17
     motive to falsify or distort his/her testimony. See Pennsylvania v. Ritchie,
18
     480 U.S. 39 (1987); United States v. Strifler, 851 F.2d 1197 (9th Cir. 1988).
19

20         b. Prior record/other acts of government witnesses. Any evidence that

21   any prospective government witness has engaged in any criminal act

22   whether or not resulting in a conviction. See F.R.E. Rule 608(b) and Brady.
23
           c. Investigation of witnesses. Any evidence that any prospective
24
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 1   witness is under investigation by federal, state or local authorities for any
 2
     criminal or official misconduct. United States v. Chitty, 760 F.2d 425 (2d
 3
     Cir.).
 4
              d. Evidence regarding ability to testify. Any evidence, including any
 5
     medical or psychiatric reports or evaluations, tending to show that any
 6

 7   prospective witness's ability to perceive, remember, communicate, or tell the

 8   truth is impaired; and any evidence that a witness has ever used narcotics or
 9
     other controlled substance, or has ever been an alcoholic. United States v.
10
     Strifler, 851 F.2d 1197 (9th Cir. 1988); Chavis v. North Carolina, 637 F.2d
11
     213, 224 (4th Cir. 1980); United States v. Butler, 567 F.2d 885 (9th Cir.1978).
12

13
              e. Personnel files. It is requested that the government review each

14   agent's personnel file for review for information requested in paragraphs a-d

15   above and determine whether there is any impeaching information contained
16
     in the files, see United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991). This
17
     request encompasses not only law enforcement officials employed by the
18
     federal government, but also state and local law enforcement officers who
19

20
     have been involved in the case against the defendant. See United States v.

21   Fort, 472 F.3d 1106, 1113 (9th Cir. 2007)(explaining that when local police

22   participate in the investigation of a defendant they are federal “agents”).
23
              f. Favorable testimony. The name of any witness who made an
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 1   arguably favorable statement concerning the defendant or who could not
 2
     identify him or who was unsure of his identity or participation in the crime
 3
     charged. Jackson v. Wainwright, 390 F.2d 288 (5th Cir. 1968); Chavis v.
 4
     North Carolina, 637 F.2d 213, 223 (4th Cir. 1980); James v. Jag, 575 F.2d
 5

 6
     1164, 1168 (6th Cir. 1978); Hudson v. Blackburn, 601 F.2d 785 (5th Cir.

 7   1975).

 8         2. Cooperating Witnesses: Disclosure of the identity of any and all
 9
     cooperating witnesses, co-defendants, persons, or informants, as well as
10
     exculpatory evidence pertaining to the cooperating witness, including, but
11
     not limited to:
12

13
           a. Cooperation agreements. The terms of the witnesses’ cooperation

14   agreements, including benefits to the witnesses as well as expectations

15   established for the witnesses and any rules of conduct or instructions given
16
     to the witness, be they formal or informal;
17
           b. Law enforcement agreements. Any agreements entered into between
18
     a law enforcement agency and a cooperating witness, even if the agreement
19

20
     does not specifically cover any benefits of cooperation.

21         c. Suitability determinations for the witness.

22         d. Criminal records: Disclosure of arrest records, criminal conviction
23
     records, probations files and any other evidence pertaining to the informant’s
24
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 1   and/or cooperating witness’ contacts with law enforcement. United States v.
 2
     Strifler, 851 F.2d 1197, 1202 (9th Cir. 1988).
 3
           e. Investigation records: Disclosure of any and all pending or past
 4
     criminal investigations involving the informant and/or cooperating witness,
 5
     including but not limited to, any criminal investigation leading to the
 6

 7   informant’s agreement to work in this case. United States v. Chitty, 760 F.2d

 8   425 (2nd Cir. 1985).
 9
           f. Evidence suggesting lack of truthfulness. Disclosure of any and all
10
     information known to law enforcement regarding the credibility of the
11
     informant and/or cooperating witness whether that information was gained
12

13
     through this investigation or any other investigation that the informant

14   and/or cooperating witness has been involved including but not limited to

15   information regarding prior misconduct by the informant and/or cooperating
16
     witness, i.e., refusing to testify or assist the government/state, allegations of
17
     entrapment, false statements in criminal investigations, false testimony or
18
     information to law enforcement officials and/or in criminal proceeding, and
19

20
     any other acts of misconduct. United States v. Uramoto, 638 F.2d 84, 86-87

21   (9th Cir. 1980).

22         g. Testing results. If given a polygraph exam and/or a UA, the results
23
     of any such examination and lab result for the UA performed on any
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 1   informant and/or cooperating witness as well as concerning the failure of any
 2
     potential government witness to submit to a polygraph exam or UA.
 3
           h. Use of controlled substances. The defense requests any information
 4
     suggesting the witness’s use of controlled substance. See Benn v. Lambert,
 5
     283 F.3d 1040, 1056 (9th Cir. 2002) (error not to turn over evidence of
 6

 7   informant’s drug use).

 8         i. Prior testimony. It is requested that the government disclose any
 9
     and all information regarding any reporting persons’, informants’, or
10
     witnesses’ prior testimony in this or any other proceeding in which they have
11
     acted as a witness and/or informant, specifically including case names and
12
     numbers of any trials or evidentiary hearing at which the informant and/or
13

14   cooperating witness has testified. Johnson v. Brewer, 521 F.2d 556 (8th Cir.

15   1975).
16
           j. Treatment records. It is requested that the government disclose any
17
     and all evidence of the informants’ psychiatric treatment, if any, or of any
18
     addiction or propensity to use or abuse controlled substances. United States
19

20
     v. Lindstrom, 698 F.2d 1154 (11th Cir. 1983); United States v. Fowler, 465

21   F.2d 664 (D.C. Cir. 1972).

22         k. Evidence of bias. The defense would request disclosure of any
23
     information regarding whether a government witness has any personal
24
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 1   relationships or interests that might cause bias in the witness’s testimony.
 2
           It is requested that the government be required to affirmatively review
 3
     any and all law enforcement files for the foregoing information and disclose
 4
     any and all potentially exculpatory information contained therein, including
 5
     but not limited to, informant information. This duty arises from the Supreme
 6

 7   Court’s decision in Kyles v. Whitley, 514 U.S. 419, 115 S. Ct. 1555, 1567

 8   (1995).
 9
           3. Statements by Mr. Rowell: Production of any and all relevant
10
     statements made by Mr. Rowell which are in the custody or control of the
11
     government, the existence of which is known by the government, or the
12
     existence of which may become known to the government by the exercise of
13

14   due diligence, as required under Fed. R. Crim. P. 16(a)(1)(A) and (B). This

15   request includes, but is not limited to, any statements made by Mr. Rowell
16
     before or after his arrest whether or not made in response to interrogation by
17
     any law enforcement official.
18
           4. Criminal Record: Disclosure of any prior criminal record of Mr.
19
     Rowell that is within the government's possession, custody, or control, or the
20

21   existence of which is known, or which may become known to the government

22   through the exercise of due diligence, as required under Fed. R. Crim. P.
23
     16(a)(1)(D).
24
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 1         5. Recordings, Documents, and Tangible Objects: Disclosure and copies
 2
     of and access to any photographs, books, papers, documents, tangible objects,
 3
     buildings or places which either are material to the defense or are intended
 4
     for use by the government in its case in chief, as well as copies of any audio
 5
     and video recordings. Fed. R. Crim. P. 16(a)(1)(E). This request includes, but
 6

 7   is not limited to, color copies of any photos taken during the course of the

 8   investigation, as well as telephonically recorded conversations, body-wire
 9
     recordings, video recordings, and copies of any recorded buy money used in
10
     this investigation.
11
           6. Examinations and Tests: Disclosure of and access to any results or
12
     reports of physical or mental examinations or scientific tests or experiments
13

14   which either are within the possession, custody, or control of the

15   government, the existence of which is known, or the existence of which may
16
     become known to the government through the exercise of due diligence, as
17
     required under Fed. R. Crim. P. 16(a)(1)(F). This request includes, but is not
18
     limited to the chemical analysis report for any controlled substance seized in
19
     this matter and the lab test/ results of any fingerprint analysis conducted of
20

21   the packaging materials of any controlled substances seized in this matter.

22         7. Expert Reports: Production of the material described under Rule
23
     16(a)(1)(F)and (G) for each and every expert witness the government intends
24
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 1   to use in its case-in-chief at trial. Mr. Rowell would observe that Rule
 2
     16(a)(1)(G) requires the government to produce more than merely any
 3
     conclusions by any and all experts, but also the basis of such conclusions.
 4
     This rule also applies to any witness whose testimony would be based on
 5
     "specialized knowledge." This may include the testimony of law enforcement
 6

 7   officials. United States v. Figueroa-Lopez, 125 F.3d 1241 (9th Cir. 1997). This

 8   request includes, but is not limited to, those training manuals and/or
 9
     materials the arresting officers rely on as part of their training in drug
10
     investigations and arrests.
11
           8. Law Enforcement and Prosecution Reports: Production of all arrest
12
     reports, investigator notes, memos from investigating officers, sworn
13

14   statements and prosecution reports which have not already been provided.

15   These reports are available under Fed. R. Crim. P. 16, 26.2, and 12.1; the
16
     Jencks Act, 18 U.S.C. §3500, et seq, and Brady v. Maryland, 373 U.S. 83
17
     (1963). Again, this request includes, but is not limited to, DEA reports and
18
     law enforcement agencies that assisted in this investigations’ reports/records
19

20
     generated as a result of the investigation of Mr. Rowell.

21         9. Prior Witness Statements: Production of all witness statements as

22   required under the Jencks Act, 18 U.S.C. § 3500, and Fed. R. Crim. P. 26.2.
23
           10. Witness Lists: Production of a list of witnesses that the government
24
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 1   intends to call in its case-in-chief as well as a list of witnesses, including
 2
     contact information, of the percipient witnesses that the government does
 3
     not intend to call at trial. United States v. Grace, 526 F.3d 499 (9th Cir. 2008)
 4
     (en banc); United States v. Cadet, 727 F.2d 1453, 1469 (9th Cir. 1984).
 5
          11. Grand Jury Transcripts: Mr. Rowell requests disclosure of the
 6

 7   grand jury transcripts prior to trial, as authorized by FRCrP 6(e)(3)(E).

 8   Grand jury transcripts constitute prior witness statements, and thus must be
 9
     disclosed when a witness testifies at trial or a pretrial proceeding. See FRCrP
10
     26.2(a)&(f)(3). In order to comply with Rule 26.2, the government will
11
     inevitably need to order the grand jury transcripts prior to any trial or
12

13
     evidentiary hearing. Accordingly, given that this is an open file discovery

14   case, Mr. Rowell requests that the government disclose the grand jury

15   transcripts once they become part of the government’s file and, in any event,
16
     no later than two weeks prior to trial or an applicable evidentiary hearing.
17
          12. Disclosure of Evidence under FRE 404(b), 608 and 609: Mr. Rowell
18
     requests the government provide counsel not only with potential 404(b), 608
19

20
     and 609 evidence through the discovery process, but also with notice of the

21   government’s intent to use such evidence. Defense counsel requests that the

22   government provide the nature of the FRE 404(b), 608, or 609 evidence with
23
     sufficient particularity so that it can be identified prior to trial and
24
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 1   addressed in appropriate motions in limine, outside the presence of the jury.
 2
     See 404(b)(2) (requiring pretrial notification of prior act evidence).
 3
          13. Timing of Production. It is requested that the court set a schedule
 4
     for the disclosure of outstanding discovery materials. It is further requested
 5
     that the government provide all material available pursuant to Fed. R. Crim.
 6

 7   P. 26.2, sufficiently in advance of trial or motion hearings so as to avoid

 8   unnecessary delay prior to cross examination.
 9
          Dated: January 28, 2014.
10
                                         Respectfully submitted,
11
                                         s/Rick L. Hoffman
12                                       Rick L. Hoffman, WA 9478
                                         Attorney for KENNETH RICHARD ROWELL
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 1
                                CERTIFICATE OF SERVICE
 2

 3        I hereby certify that on January 28, 2014, I electronically filed the

 4   foregoing with the Clerk of the Court using the CM/ECF System which will

 5   send notification of such filing to the following: Alexander C. Ekstrom,
 6
     Assistant United States Attorney.
 7

 8                                       s/Rick L. Hoffman
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